       Case 2:24-cr-00091-ODW        Document 169 Filed 11/15/24   Page 1 of 11 Page ID
                                              #:2100




 1 I DAVID Z. CHESNOFF, ESQ.
 ^ II Pro Hac Vice
     RICHARD A. SCHONFELD, ESQ.
 3 I California Bar No. 202182
 4J CHESNOFF & SCHONFELD
       520 South Fourth Street
       Las Vegas, Nevada 89101
 61 Telephone: (702) 3 84-5563
 7 || dzchesnoff(%cslawoffice.net
       rschonfeld(%cslawoffice.net
       Attorneys for Defendant ALEXANDER SMIRNOV
 9|
10 || UMTED STATES DISTRICT COURT
^ ^ II CENTRAL DISTRICT OF CALIFORNIA
                                            ^ ^ ^ ^4; ^

12

13 I UNITED STATES OF AMERICA, ) CASE NO. 2:24-CR-00091-ODW
141                                     )
                         Plaintiff, ) DEFENDANT'S OPPOSITION TO
     || ) THIRD MOTION IN LIMINE TO
16 I v. ) EXCLUDE SPECIFIC INSTANCES OF
171 ) CONDUCT (ECF NO. 152)
 I ALEXANDER SMIRNOV, )
                                              ) Honorable Otis D. Wright II




20 I _)
191 Defendant, ) November 25,2024 at 10:00 a.m.


21
             Comes Now, Defendant Alexander Smirnov, by and through his counsel of


23 || record David Z. Chesnoff, Esq., and Richard A. Schonfeld, Esq., and hereby submits


       his Opposition to the Government's "Third IVIotion In Limine to Exclude Specific
25
       Instances of Conduct," filed November 1, 2024. See ECF No. 152 ("Gov. Mot.").


27 I
28
       Case 2:24-cr-00091-ODW     Document 169 Filed 11/15/24        Page 2 of 11 Page ID
                                           #:2101




 1 ]| This Opposition is made and based upon the papers and pleadings on file
 2
       herein, the attached Memorandum of Points and Authorities, and any argument that
 3
 4 is heard.


 5 I Dated this 15th day of November, 2024.
 6
                                           Respectfully Submitted:
 7
                                            CHESNOFF & SCHONFELD

 91 /s/ David Z. Chesnoff
10 I DAVID Z. CHESNOFF, ESQ.
1 -[ || .Pro Tifoc Vice
                                            RICHARD A. SCHONFELD, ESQ.
     I California Bar No. 202182
13 I] 520 South Fourth Street
141 Las Vegas, Nevada 89101
     I Telephone: (702)384-5563
                                            dzchesnoff@cslawoffice.net
                                            rschonfeld@cslawoffice.net
17 ]| Attorneys for Defendant
^ g I ALEXANDER SMIRNOV

19

20

21

22 I
23

24

25

26

27 I
28]
      Case 2:24-cr-00091-ODW        Document 169 Filed 11/15/24           Page 3 of 11 Page ID
                                             #:2102




 11| MEMORANDUM OF POINTS AND AUTHORITIES
2
      A. Background and Statement by Judge Wright


4           The indictment (ECF No. 1) charges Mr. Smirnov with: 1) Making False

      Statements, in violation of 18 U.S.C. § 1001; and 2) Falsification in a Federal
 6
      Investigation, in violation of 18 U.S.C. § 1519. Mr. Smirnov was a confidential


      human source ("CHS") for the FBI from 2013 through October 2023. The FBI

 9
      reports documenting his service contain only positive references and no evidence of
10
      him aiding any foreign government. The government's motion aims to preclude a
11

12    fair defense.

13
            This, sadly, has been a recurring theme, as contrasted with the Special
14|
      Counsel's decision in a related prosecution: 1) to give Hunter Biden a plea deal with
15

16    just a few minor offenses (rather than any Burisma-related, or Chinese corruption

17
      offenses); and 2) to try to resolve that case on favorable terms, for the son of a sitting
18
^ President.

20          Critically, this Court will not allow such evidence-blocking tactics, stating:

21
             [N]othing—we 're going to do absolutely nothing to interfere with your
22 ability to mount a vigorous defense, and if there are documents that will
^3 enable you to do that, then, by all means, you 're entitled to those things,
            absolutely entitled.
24|
25    United States v. Smirnov (No. 2:24-CR-00091-ODW), Hear. Tr. (Sep. 9, 2024) at 22.

26          Mr. Smirnov relies on this reassurance to stop the prosecution's desire to convict
27
      him by restricting—indeed, gutting—his trial defense. See, e.g., Sherman v. Gittere, 92
28
      Case 2:24-cr-00091-ODW       Document 169 Filed 11/15/24          Page 4 of 11 Page ID
                                            #:2103




 11| F.4th 868, 878-79 (9th Cir. 2024) ("The constitutional right to 'a meaningful opportunity
2
      to present a complete defense' is rooted in both the Due Process Clause and the Sixth
3
4J Amendment. [Crane v. Kentucky, 476 U.S. 683, 690] (1986) (quoting [California v.

 5 I Trombetta, 467 U.S. 479, 485] (1984); see Chambers v. Mississippi, 410 U.S. 284, 294
6
      (1973) .... Washington v. Texas, 388 U.S. 14, 19 (1967) ("The [Sixth Amendment] right
7|
 g II to offer the testimony of witnesses . . . is in plain terms the right to present a defense, the


 ^ right to present the defendant's version of the facts as well as the prosecution's to the jury
10
      so it may decide where the truth lies.").


121 B. This Court Should Permit Mr. Smirnov to Present a Constitutionally
             Adeouate Defense, As Expressly Permitted Under Rule 405(b)
13
141 Count two charges a violation under 18 U.S.C. § 1519, which requires proof


     || that Mr. Smirnov, in obstructing an investigation, and acted with "evil intent."
16|
      United States v. Stevens, 771 F. Supp. 2d 556, 560-62 (D. Md. 2011). Thus, Stevens


18 invoked the Supreme Court precedent to state:


             In Arthur Andersen LLP v. United States, the Supreme Court
201 interpreted the language of 18 U.S.C. § 1512(b)(2)(A), a similar
             obstruction statute .... The [Anderson] Court held that the most natural
             reading of the statute was one in which the word "knowingly" modifies
22 ]| "corruptly persuades." Id. . ..

             [T]he most natural, grammatical reading of § 1519 is one in which the
24 word "knowingly" modifies "with intent to impede, obstruct, or
             influence." The mens rea of 1519 is not just "knowingly"—meaning
             "with awareness, understanding, or consciousness"—as the
261| Government suggests. Id. at 705.
27

28
      Case 2:24-cr-00091-ODW       Document 169 Filed 11/15/24          Page 5 of 11 Page ID
                                            #:2104




 1 [T]he same evil intent embodied in § 1512 is embodied in § 1519.
2 ]| United States v. Moyer, 726 F.Supp.2d 498, 506 (M.D.Pa. 2010). The
            language "with intent to impede, obstruct, or influence" . . . "imposes
            upon the § 1519 defendant the same sinister mentality which 'corruptly'
4           requires of a § 1512(b)(2) defendant." Id. . . . [T]he most reasonable
 5          reading of Section 1519 is one which imposes criminal liability only on
            those who were conscious of the wrongfulness of their actions . . . .
 6

 7    Stevens, 771 F. Supp. 2d at 560-61 (emphases added).


            Given the government's burden to prove that Mr. Smirnov's statements were
 9
      made with "sinister mentality" and "evil intent," Mr. Smirnov will negate those
10

11    efforts through "specific incidents" of reports that were not only truthful, but also

12
      praised and relied upon by the FBI. It is disingenuous for the government to spend
13
      much of its motion asserting—in the face of these undisputed facts, as filtered
14

15    through a membrane of common sense—that Mr. Smirnov's truthfulness is not,

16
      somehow, relevant to his trial defense. Yet that is precisely what the government
17|
      does, arguing—in contradiction of this Court's words—that he is not "absolutely
18

19    entitled" to present "a vigorous defense" at trial. Hearing Tr. at 22.

20
            The federal rules underscore the correctness of this Court's assurances. Thus,
21
      Rule 405 of the Federal Rules of Evidence states: "(b) When a person's character or
22

23    character trait is an essential element of a charge, claim, or defense, the character or

24
      trait may also be proved by relevant specific instances of the person's conduct.'
25

26          Rule 405(b) permits evidence of the many "specific instances" of good

27    "conduct" that Mr. Smirnov rendered to the United States Government during his
28
      Case 2:24-cr-00091-ODW       Document 169 Filed 11/15/24         Page 6 of 11 Page ID
                                            #:2105




 1 I years of service. See, e.g., United States v. Giese, 597 F.2d 1170, 1190 (9th Cir.
 2
      1979) ("[A] defendant-witness may [himself] cite specific instances of conduct as
 3
      proof that he possesses a relevant character trait such as peaceableness.").


      Moreover—and despite the Government's claim that truthfulness does not lie at the

 6|
      heart of this prosecution—admission of "specific instances" evidence under Rule
 7
      405 (b) flows, in this case, from the fact that the indictment repeatedly asserts that

      Mr. Smirnov is an inveterate liar—an assertion that is squarely contradicted (and,
10
      hence, negated for mens rea purposes) by specific instances of his years-long
11

12    truthfulness in his FBI reporting.

13          Thus, Mr. Smirnov's truthfulness is indeed the quintessential "essential
14
      element" of his trial "defense" under Rule 405(b). Indeed, while specifically
15

16    addressing an entrapment defense in United States v. B.B. Thomas, 134 F.3d 975

17
      (9th Cir. 1998), as amended on denial ofreh'g (Apr. 10, 1998), the Ninth Circuit
18
      made plain that—contrary to the government's unfairly restrictive reading, see Gov.
19

20    Opp. at 6—its holding under Rule 405(b) applied 1) far more broadly, and 2) to cases

      identical to Mv. Smirnov's. See id. at 980 (while specifically addressing entrapment,
22
      B.B. Thomas Court makes plain that its Rule 405(b)-based holding applies where a
23

24    defendant like Mr. Smirnov must—to defend himself—negate the mens rea through

25
      "specific instances" of conduct: "[T]he well-settled rule that character must be
26
      considered is tantamount to a holding that it is an essential element of the defense,


28
      Case 2:24-cr-00091-ODW           Document 169 Filed 11/15/24               Page 7 of 11 Page ID
                                                #:2106




      and we explicitly recognize it as such here ... .") (emphases added); see also United
2
      States v. Tangen, No. 2:15-CR-0073-SMJ, 2016 WL 3676451, at *2 (E.D. Wash.


      July 7, 2016) ("specific instances of truthful or honest conduct by Defendant are


      admissible under Rule 405(b) as fraud is an 'essential element' of Defendant's

 6|
      charges."); cf. Schafer v. Time, Inc., 142 F.3d 1361, 1372 (llth Cir. 1998).1
 7
             The non-binding United States v. Covington, No. 3:23cr68, 2023 WL


      8482581, at *3 (E.D. Va. Dec. 7,2023) is distinguishable—even though it references
10
      United States v. Keiser, 57 F.3d 847, 856 (9th Cir. 1995). See Gov. Mot. at 5-6. The
11
12 I " Covington test" for Rule 405(b) stated: "In determining whether a person's trait is

13    an essential element of the crime, the relevant question is: would proof, or failure of
14
      proof, of the character trait by itself actually satisfy an element of the charge, claim,


16| or defense^ Id. at * 3 (emphasis added). Here, the answer is yes: a "failure of proof'

      will ensue if Mv. Smirnov cannot show an element of his "defense," namely,
18
      showing that his reporting was truthful and never flagged as suspicious.2


20

21

22
      ' Thus, in United States v. Thomas, 32 F.3d 418 (9th Cir. 1994), "the district court committed
      reversible error when it excluded Thomas' evidence of the benefits the growers received . . . .

24    Evidence showing actual gain was highly probative on the issue of... whether he had an intent to
      deprive growers of their property . ..." United States v. Ciccone, 219 F.3d 1078, 1082-83 (9th Cir.
25    2000); see also State v. Mercer, 106 P.3d 1283, 1287 (N.M. Ct. App. 2005).

26           A defendant also has the right to full cross-examination. See, e.g., Delaware v. Van Arsdall,
      475 U.S. 673, 678 (1986) ("[C]onfrontation .... means more than being allowed to confront the
      witness physically .... Indeed, the main and essential purpose of confrontation is to secure for the

28    opponent the opportunity of cross-examination.") (emphases and quotations omitted)).
       Case 2:24-cr-00091-ODW      Document 169 Filed 11/15/24         Page 8 of 11 Page ID
                                            #:2107



 1     C. Evidence of Negligent Record-Keeping is Also Relevant to the Defense
 2
             In addition to the specific instances of conduct, Mr. Smirnov will further show
 3

 4     that his FBI handler failed to document his (Mr. Smirnov's) communications and

 5     reports. This evidence will take the form of the specific acts of Mr. Smirnov
 6|
       communicating with his Handler, with no corresponding record of the same.
 7

 8           This evidence is admissible to show Mr. Smirnov's defense. It impeaches the

 9|    quality of the law enforcement in this case, which shows: 1) that the Handler's
10
       shoddy work involved repeatedly neglecting procedures; and 2) that this negligence
11

12     shows the lack of record keeping regarding Defendant's disclosure related to

13     Burisma. See, e.g., Lindsey v. King, 769 F.2d 1034, 1042 (5th Cir. 1985) (new trial
14
       where withheld evidence had "potential" for "discrediting . . . police methods"); see
15

16     also Carriger v. Stewart, 132 F.3d 463, 481 (9th Cir. 1997) (can "question the

17
       thoroughness or good faith of an investigation^]") (citing Kyles v. Whitley, 514 U.S.
18
       419, 444^8 (1995)); United States v. Sager, 227 F.3d 1138, 1145 (9th Cir. 2000);
19|
20     United States v. Aguilar, 831 F. Supp. 2d 1180, 1203 (C.D. Cal. 2011).

21
             These principles apply here. Mr. Smirnov will introduce the shoddy reports
22
       prepared by his Handler to show that such record keeping is consistent with the
23

24| Handler failing to document the "non-relevant" conversation (as the government
25
       glibly characterizes it in the Indictment) with Smirnov in 2017, as reflected in the
26 I
       FD-1023. Mr. Smirnov's disclosure was thus made, but never documented.
27

28
       Case 2:24-cr-00091-ODW       Document 169 Filed 11/15/24         Page 9 of 11 Page ID
                                             #:2108




 11 D. The Relationship Between Mr. Smirnov and His Handler is Relevant

 2
             Mr. Smirnov must also be allowed to explain the specific exculpatory context
 3
       in which he made the allegedly unlawful communication. Stated another way, it


       would be constitutionally unfair to allow the Handler to take the stand in a vacuum,

 6|
       testify about how, in 2020, Mr. Smirnov lied to him—but then preclude Mr. Smirnov
 7
       from adducing evidence to set these acts in context. See, e.g., Perez v. Madden, 2019


       WL 4670197, at *4 (E.D. Cal. Sept. 25, 2019), adopted sub nom. Trejo Perez v.
10
       Madden, WL 1154807 (E.D. Cal. Mar. 10, 2020) ("[E]xcluding potentially-


12     exculpatory evidence simply because the government has presented strong evidence

13     . . . —thereby evaluating only the government's evidence without allowing the
14
       defendant to rebut it—can violate the right... to present a complete defense . . ..").
15

16           Mr. Smirnov can reveal the unique manner in which he and his Handler


       communicated. The two men socialized and exchanged calls—but these events were
18
       never documented. This failure also reveals what the government downplays as a


20      'non-relevant" conversation about the Bidens in 2017, and that, after having


       maintained a strong relationship with Mr. Smirnov, intermediary steps could have
22
       been taken to determine his truthfulness, but were not. Without being able to show
23

24     Mr. Smirnov's decade ofsuspicion-free interactions with his Handler, he will not be

25
       able to put into context the FBI'S failure to verify their CHS's accuracy by using the
26 I
       tools available to it (such as a simple polygraph test).

28
      Case 2:24-cr-00091-ODW     Document 169 Filed 11/15/24          Page 10 of 11 Page ID
                                          #:2109




 1 II E. Conclusion

 2|
            For the foregoing reasons, Mr. Smirnov requests that this Court deny ECF No.


 41| 152 and allow him to put on the trial defense to which he is constitutionally entitled.

 5 || DATED this 1 5th day of November, 2024.
 6|
 7 ]] Respectfully Submitted:

     || CHESNOFF & SCHONFELD
 9
101 /s/David Z. Chesnoff
     I DAVID Z. CHESNOFF, ESQ.
                                             Pro Hac Vice
121 RICHARD A. SCHONFELD, ESQ.
13 || California Bar No. 202182
^ II 520 South Fourth Street
                                             Las Vegas, Nevada 89101
15 I Telephone: (702)384-5563
16 rschonfeld@cslawoffice.net
Y] dzchesnoff@cslawoffice.net
                                             Attorneys for Defendant
18 II ALEXANDER SMIRNOV
19

20

21

22

23

24

25

26

27

28
                                               10
     Case 2:24-cr-00091-ODW      Document 169 Filed 11/15/24        Page 11 of 11 Page ID
                                          #:2110



 1                             CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 15th day of November, 2024,1 caused the forgoing
 3

 4    document to be filed electronically with the Clerk of the Court through the CM/ECF

 5
      system for filing; and served on counsel of record via the Court's CM/ECF system.
 6
                                      /s/ Camie Linnell
 7
                                      Employee ofChesnoff& Schonfeld
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                               11
